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         U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                       Cleveland Field Office
                                                                                      1240 E9lh S(, Suite 3001
                                                                                         Cleveland, OH 44199
                                                                                                 (216) 306-1120
                                                                                      Website:   vvwvv.eeoc.gov



                   DETERMINATION AND NOTICE OF RIGHTS
                        (This Notice replaces EEOC FORMS 161 & 161-A)

                                        Issued On: 05/05/2023
 To: Dr. Mary E. Shanahan
      1760 North St.
     Granville, OH 43023

 Charge No: 532-2022-03193
 EEOC Representative:                 Legal Unit
                                      (267) 589-9707


                                DETERMINATION OF CHARGE


 The EEOC issues the following determination: The EEOC will not proceed further with its
 investigation and makes no determination about whether further investigation would establish
 violations of the statute. This does not mean the claims have no merit. This detemiination does not
 certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
 the merits of any other issues that might be construed as having been raised by this charge.

                               NOTICE OF YOUR RIGHT TO SUE

 This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
 you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
 or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
 Receipt generally occurs on the date that you (or your representative) view this document. You
 should keep a record of the date you received this notice. Your right to sue based on this charge
 will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
 based on a claim under state law may be different.)
 If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
 court complaint to charge 532-2022-03193.

                                                On behalf of the Commission,

                                                Digitally Signed By: Dilip Goktiale
                                                05/05/2023

                                                Dilip Gokhale
                                                Director
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 Cc:
 Alexandra T Schimmer
 Denison University
 100 W COLLEGE ST
 Granville, OH 43023

 Chelsea Weaver
 Cooper Elliott
 305 W Nationwide Blvd
 Columbus, OH 43215

 Rex Elliott
 Cooper Elliott
 305 W Nationwide Blvd
 Columbus, OH 43215

 Jim Abies
 Denison University
 Doane Administration - 307 100 W COLLEGE STREET
 Granville, OH 43023




 Please retain this notice for your records.
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 Enclosure with EEOC Notice of Closure and Rights (01/22)




                                   Information Related to Filing Suit
                               Under the Laws Enforced by the EEOC
  (This information relates to ifling suit in Federal or State court under Federal law. Ifyou also
 plan to sue claiming violations of State law, please be aware that time limits may be shorter and
            other provisions of State law may be different than those described below.)

 Important Time Limits - 90 Days to file a Lawsuit

 If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
 you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
 generally means the date when you (or your representative) opened this email or mail. You should
 keep a record of the date you received this notice. Once this 90-day period has passed, your
 right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
 attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
 your receiving it (email or envelope).
 If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint
 in court within 2 years (3 years for willful violations) of the date you did not receive equal pay.
 This time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title
 Vll, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under
 Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA claim, your lawsuit
 must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.
 Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
 Whether you file in Federal or State court is a matter for you to decide after talking to your
 attorney. You must file a "complaint" that contains a short statement of the facts of your case
 which shows that you are entitled to relief. Filing this Notice is not enough. For more information
 about filing a lawsuit, go to httDs://www.ceoc.tzov/emDlovees/lawsuit.cfm.
 Attorney Representation

 For information about locating an attorney to represent you, go to:
 https://wwvv.eeoc.gov/emplovees/lawsuit.cfm.
 In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
 who demonstrate that they are financially unable to afford an attorney.

 How TO Request Your Charge File and 90-Day Time Limit for Requests
 There are two ways to request a charge file: 1) a FOIA Request or 2) a Section 83 request. You may
 request your charge file under either or both procedures. EEOC can generally respond to Section 83
 requests more promptly than FOIA requests.
 Since a lawsuit must be filed within 90 days of this notice, please submit your request for the charge
 file promptly to allow sufficient time for EEOC to respond and for your review. Submit a signed
 written request stating it is a “FOIA Request” or a “Section 83 Request” for Charge Number 532-
 2022-03193 to the District Director at Jamie Williamson, 801 Market St Suite 1000, Philadelphia,
 PA 19107.

 You can also make a FOIA request online at httns://eeoc.arkcase. corn/foia/Dortai/login.
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 Enclosure with EEOC Notice of Closure and Rights (01/22)




 You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After the
 90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
 provide a copy of the court complaint to EEOC.
 For more information on submitting FOIA Requests and Section 83 Requests, go to:
 hitps:/Av\vw.eeoc.gov/eeoc/foia/index.cfm.


      Notice Of Rights Under The ADA Amendments Act OF 2008 (ADAAA)
 The ADA was amended, effective January 1,2009, to broaden the definitions of disability to make
 it easier for individuals to be covered under the ADA/ADAAA. A disability is still defined as (1)
 a physical or mental impairment that substantially limits one or more major life activities (actual
 disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
 disability. However, these terms are redeifned, and it is easier to be covered under the new Imv.
 If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
 this information with your attorney and suggest that he or she consult the amended regulations and
 appendix, and other ADA related publications, available at:
 http://wvvw.eeoc.gov/laws/lvpes/disabilitv regulations.cfm.


 “Actual” disability or a “record of’ a disability
 If you are pursuing a failure to accommodate claim you must meet the standards for either '‘actual”
 or “record of’ a disability:
           The limitations from the impairment no longer must be severe or significant for the
           impairment to be considered substantially limiting.
           In addition to activities such as performing manual tasks, walking, seeing, hearing,
           speaking, breathing, learning, thinking, concentrating, reading, bending, and
           communicating (more examples at 29 C.F.R. § 1630.2(1)), “major life activities” now
           include the operation of major bodily functions, such as: functions of the immune
           system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
           bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
           hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
           individual organ within a body system.
           Only one major life activity need be substantially limited.
      ^ Except for ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
        measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)
        are not considered in determining if the impairment substantially limits a major life
        activity.
           An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in
           remission” (e.g., cancer) is a disability if it would be substantially limiting when active.
           An impairment may be substantially limiting even though it lasts or is expected to last
           fewer than six months.
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 “Regarded as” coverage
 An individual can meet the definition of disability if an employment action was taken because
 of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
 leave, termination, exclusion for failure to meet a qualification standard, harassment, or denial of
 any other term, condition, or privilege of employment).
           “Regarded as” coverage under the ADAAA no longer requires that an impairment be
           substantially limiting, or that the employer perceives the impairment to be substantially
           limiting.
           The employer has a defense against a “regarded as” claim only when the impairment at
           issue is objectively both transitory (lasting or expected to last six months or less) and
           minor.

      V'
           A person is not able to bring a failure to accommodate claim if the individual is covered
           only under the “regarded as” definition of “disability”.
 Note: Although the amended ADA states that the deifnition of disability “shall be construed
 broadly” and “should not demand extensive analysis,” some courts require speciifcity in the
 complaint explaining how an impairment substantially limits a major life activity or what facts
 indicate the challenged employment action was because of the impairment. Beyond the initial
 pleading stage, some courts will require speciifc evidence to establish disability. For more
 information, consult the amended regulations and appendix, as well as explanatory publications,
 available at http://www.eeoc.gov/lavvs/tvDes/disabilitv reuiilations.cfm.
